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                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE EASTERN DISTRICT OF MISSOURI
                                    EASTERN DIVISION

In re:                              )
                                    )
HH ST. LOUIS RAILWAY, LP,           )                      Case No. 19-47030-705
                                    )                      Charles E. Rendlen III
                  Debtor            )                      Chapter 7
___________________________________ )


                      JOINDER IN MOTION TO ABSTAIN AND DISMISS

         Cannon Design, Inc. (“Cannon Design”) respectfully joins in the Motion to Abstain and

Dismiss (the “Motion”) filed by HH St. Louis Railway LP (“HH Railway”). In support of its

joinder, Cannon Design states as follows:

         1.      On November 8, 2019, certain creditors (the “Petitioning Creditors”) filed an

involuntary petition against HH Railway, seeking relief under Section 303 of Title 11 of the

United States Code (the “Bankruptcy Code”).

         2.      HH Railway does not concede the validity of the Petitioning Creditors’ claims.1

As of the filing of this Joinder, no order for relief has been entered, and no trustee has been

appointed.

         3.      In its Suggestion in Support of Motion to Abstain and Dismiss, HH Railway

provided the Court with a comprehensive summary of the extensive network of financing

transactions that underpin the efforts to renovate the Railway Exchange Building and its adjacent

garage (collectively, the “Project”).

         4.      Cannon Design will not repeat that summary other than to emphasize that the

Project depends upon a combination of purchase money financing from Gamma Real Estate


1
 See Suggestion in Support of Motion to Abstain and Dismiss, footnote 2, filed by HH Railway on December 2,
2019 as Dkt. 11.
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Capital, LLC (“Gamma”), federal tax credits, and state tax credits. In order to utilize all of these

resources properly, HH Railway must meet certain deadlines and standards. Failure to do so

would jeopardize the tax credits and the success of the entire Project.

        5.      Cannon Design filed a mechanic’s lien against the Project on August 24, 2018

(the “Cannon Lien”). The principal amount of the Cannon Lien is $1,758,585, exclusive of

interest. Five other creditors have also filed liens against the Project (collectively with the

Cannon Lien, the “Mechanic’s Liens”).         The Mechanic’s Liens total approximately $2.93

million. Cannon Design is, by far, the largest lien claimant.

        6.      In February 2019, Cannon Design filed suit against HH Railway and others,

including Gamma, to foreclose the Cannon Lien and to determine its priority relative to Gamma

and the holders of the other Mechanic’s Liens (the “State Court Litigation”). The State Court

Litigation is pending in the 22nd Judicial Circuit for the City of St. Louis. The parties were

engaging in discovery and had a case management plan well underway. The filing of the

involuntary petition has stayed the State Court Litigation.

        7.      Based upon the information which Cannon Design has obtained about the Project,

HH Railway’s Motion represents a practical, and the only true, solution for resolution of the

issues in this case.

        8.      HH Railway’s assets consist of the following: the Project (which is heavily

liened); prospective tax credits which have no value outside of this Project; a litigation claim

arising from a water main break; and modest lease income which represents part of Gamma’s

collateral.

        9.      Given the scarcity of funds for the Project, it is unlikely that there have been any

avoidable transfers.



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         10.   In short, there do not appear to be any assets which a trustee can administer to pay

his or her fees, let alone produce a dividend to unsecured creditors.

         11.   In contrast, the State Court Litigation provides a forum where the varying claims

of priority can be determined and, perhaps, create a basis for salvaging the Project with all

creditors ultimately benefitting.    Cannon Design acknowledges that bankruptcy courts can

adjudicate competing claims to assets, but that is generally done only when the bankruptcy estate

has a stake in the outcome.

         12.   The Eighth Circuit contemplated the bankruptcy court’s jurisdiction and the

interests of comity in In re Reeves, 65 F.3d 670 (8th Cir. 1995). In Reeves, a chapter 7 trustee

sought to liquidate the debtor’s 25% share in a closely held business in order to obtain funds for

distribution to creditors. In order to liquidate the shares, the trustee was required to bring suit to

dissolve the closely held corporation. The Eighth Circuit determined that the bankruptcy court

had “related to” jurisdiction over a dissolution action as the action would impact the amount

available for creditors. Id. at 675, referencing Matter of Xonics, 813 F.2d 127, 131 (7th Cir.

1987).

         13.   Notwithstanding the presence of “related to” jurisdiction in Reeves, the Eighth

Circuit mused about whether the bankruptcy court or the district court might wish to abstain

from hearing the dissolution action as the matter primarily involved state law. 65 F.3d at 675.

         14.   Section 305 of the Bankruptcy Code provides that “[t]he court…may dismiss a

case under this title …if…the interests of creditors and the debtor would be better served by such

dismissal…” 11 U.S.C. § 305(a)(1).

         15.   HH Railway has described the factors to be considered in evaluating a motion to

dismiss under Section 305. See Dkt. 11, p. 8. These are: a) the availability of another forum; b)



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the financial costs and burdens of a bankruptcy case; c) whether the bankruptcy case duplicates

other efforts pending elsewhere; d) whether the bankruptcy case is essential to a just and

equitable resolution; e) the level to which other pending proceedings have progressed; and f) the

purpose or motivation of the petitioning creditors.

       16.     Consideration of these factors weighs in favor of abstention and dismissal. The

State Court Litigation provides another forum to address the various disputes among creditors,

and the State Court Litigation is progressing without delay, thus satisfying factors a, c, and e

from the list above. The bankruptcy process would add another layer of costs with no funds to

pay them, thus satisfying factor b. Further, there do not appear to be any bankruptcy specific

causes of action such as preferences which require the intervention of bankruptcy, thus satisfying

factor d. Finally, the Petitioning Creditors cannot hope to gain anything from a bankruptcy as

there are no assets suggesting that their motivations are not consistent with the equitable aims of

the Bankruptcy Code, thus satisfying factor f.

       17.     For all these reasons, Cannon Design joins in HH Railway’s Motion and requests

that the Court abstain from hearing and dismiss the case.

       WHEREFORE, Cannon Design respectfully requests that this Court enter an order

dismissing this case and granting Cannon Design all other relief just and proper.




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Dated: December 9, 2019                    Respectfully submitted,

                                           Brian M. Wacker
                                           Gene J. Brockland – 32770 MO
                                           Brian M. Wacker – 61913 MO
                                           SmithAmundsen, LLC
                                           120 S. Central, Suite 700
                                           St. Louis, MO 63105-1794
                                           Telephone: 314-719-3746
                                           Facsimile: 314-719-3741
                                           gbrockland@herzogcrebs.com
                                           bwacker@salawus.com

                                           Counsel for Cannon Design, Inc.


                              CERTIFICATE OF SERVICE

       I hereby certify that on the 9th day of December, 2019, I electronically filed the
foregoing with the Clerk of Court using the CM/ECF system, which will then send a notification
of such filing to all parties who have filed an appearance. Copies of this pleading may be
accessed through the Court’s electronic filing system.


                                           Brian M. Wacker




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